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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

Two Week Criminal Trial Calendar commencing Monday, August 4, 2025, at 9:30 a.m. in
Courtroom 2108, U.S. Courthouse, 75 Ted Turner Dr., SW, Atlanta, Georgia, Honorable Thomas
W. Thrash, presiding. There will be no calendar call. The first case shall appear ready for trial
unless otherwise instructed by the Court. Trials will be held during the weeks of August 4, 2025
and August 11, 2025.

ATTENTION: ALL COUNSEL The Court requires you to provide to the Courtroom
Deputy Clerk 3 copies your exhibit and witness lists at the start of trial for use by the Court
and clerk during trial. The list shall contain an identifying description of each exhibit to
the right of the exhibit numbers. The list shall be double spaced with approximately 12
inches of space to the left of the exhibit numbers for court use. Additionally, the Court
requires electronic filing of your requests to charge prior to the beginning of the trial
calendar as directed by the court after this notice.

In criminal cases, it is the responsibility of counsel to advise the Courtroom Deputy Clerk of the
need for any interpretive services so that these may be arranged for any proceeding with the
defendant. Notice is needed immediately so that services can be arranged.

EXHIBITS: Counsel are reminded of our local rules regarding custody of trial exhibits. Any
exhibit larger than 8 2 x 11 will be returned to counsel. Counsel should plan to pick up their
exhibits immediately after the close of court on the day of the verdict. LR 79.1 has changed in
regard to over-sized and non-documentary exhibits and states in part. AOversized and non-
documentary original exhibits will be returned to the parties at the conclusion of the hearing or
trial, except for audio and video files. Within ten days following the conclusion of a trial or
hearing, all parties must file photographs or other appropriate reproductions of oversized and
non-documentary physical or demonstrative exhibits tendered as evidence at the trial or any
hearing, unless otherwise ordered by the court. These photographs and reproductions must be
filed electronically by counsel and in paper by pro se litigants. The parties must indicate on each
photograph or reproduction whether the displayed exhibit was admitted or rejected."

The use of equipment for the presentation of evidence or of evidence other than documents and
enlargements of documents at trial must have an order authorizing the bringing in of that
equipment into the courthouse. An order must be presented to the Courtroom Deputy Clerk
prior to the date the trial is to begin. The order should identify the case by style and case
number, a list of each piece of equipment and who will be bringing the equipment into the
building. These orders have to be on file with the U.S. Marshal's office before the equipment
can be taken into the court area.

Our courtroom is technology equipped. If you intend to take advantage of this you must,
prior to trial, schedule a training session for yourself or someone on your staff, the court
will not allow time for training at the beginning of the trial.

Counsel MUST provide a courtesy copy of any documents e-filed just prior to trial or on
any day during trial.
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                                   August 4, 2025, TRIAL CALENDAR




       CASE NO.          CASE STYLE           NATURE OF SUIT    COUNSEL FOR            COUNSEL FOR
                                                                 PLAINTIFF(S)         DEFENDANT(S)
 1.    1:22-cv-1806       John Lewis                           Adewale Odetunde, I   Gabriel Logreira
                              v.              MOTOR VEHICLE-                         Scott Moulton
                       Paul Medford, et al      DAMAGES                              Sandro Stojanovic
                                                                                     Foss Baker
 2.    1:21-cv-1971      David Henry as                        Ari Karen             Jason Carter
                        Trustee of Better                      Andrew Sandler        Eliza Taylor
                      Greetings Corporation                    Matthew Rosenkoff     Solese Altman
                        Liquidating Trust        THEFT OF
                                v.            INTELLECTUAL
                      Edible Arrangements,      PROPERTY
                              et al


 3.    1:23-cv-1701     Thornton Storage,                      John Christy          Jennifer Simon
                               LLC              PROPERTY       Debra Wilson
                                v.              DAMANGE
                      Ready Mix USA, LLC
 4.    1:24-cv-3887      Itzel Mandujano      DISCRIMINATION   Jesse Lee Kelly, II   Howard Evans
                                v.                   &
                            ACRO, Inc.           UNLAWFUL
                                               TERMINATION


Dated: July 1, 2025
/s/ Jordyn Holder
Courtroom Deputy Clerk for Judge Thomas W. Thrash, Jr.
jordyn_holder@gand.uscourts.gov
404.215.155
